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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON

GLENDA J. PRADO,

        Plaintiff,                                        Case No. 3:16-cv-320

vs.

PAT MAZEIKA, et al.,                                      District Judge Walter H. Rice
                                                          Magistrate Judge Michael J. Newman
      Defendants.
______________________________________________________________________________

REPORT AND RECOMMENDATION1 THAT: (1) DEFENDANTS’ PARTIAL MOTION
FOR JUDGMENT ON THE PLEADINGS (DOC. 46) BE GRANTED; (2) PLAINTIFF’S §
  1983 CLAIMS FOR MALICIOUS PROSECUTION, FALSE ARREST, AND FALSE
  IMPRISONMENT ALL BE DISMISSED; AND (3) THIS CASE REMAIN PENDING
    WITH REGARD TO PLAINTIFF’S EMPLOYMENT DISCRIMINATION AND
                        RETALIATION CLAIMS


        This is an employment discrimination and retaliation case brought under Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq. and the corollary provisions of Ohio law,

Ohio Rev. Code Chapter 4112, et seq.            Specifically, these discrimination claims arise from

Plaintiff’s employment with the Greene County, Ohio Department of Job & Family Services

(“DJFS”) from October 6, 2014 until her termination on March 11, 2015. See doc. 34. In addition

to claims of discrimination and retaliation in the workplace, Plaintiff also seeks relief under 42

U.S.C. § 1983 for alleged constitutional violations arising from an arrest and detention following

her termination from employment -- events she apparently connects to the Defendant co-workers

through only nebulous innuendo.2



        1
            Attached hereto is a NOTICE to the parties regarding objections to this Report and
Recommendation.
         2
           Plaintiff also makes, in one paragraph of her amended complaint, an oblique reference to 42
U.S.C. Section 1985 without explanation or facts in support. Doc. 34 at Page ID 99, ¶ 1. To the extent
Plaintiff thus seeks to perhaps complain here of a civil rights conspiracy, such claim fails under Iqbal and
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        Now before the Court is Defendants’ motion for judgment on the pleadings. Doc. 46. In

their motion, Defendants argue that Plaintiff’s due process, equal protection, malicious

prosecution, false arrest, and false imprisonment claims -- claims which Plaintiff, through counsel,

alleges arise from her arrest and detention after termination of her employment with DJFS -- are

inadequately pled. Doc. 46. Plaintiff filed a memorandum in opposition to Defendants’ motion

(doc. 48)3 and, thereafter, Defendants filed a reply (doc. 50). The undersigned has carefully

considered all of the foregoing and Defendants’ motion is ripe for decision.

                                                      I.

        The standard for reviewing a Rule 12(c) motion for judgment on the pleadings is the same

standard employed for reviewing a Rule 12(b)(6) motion to dismiss. Sensations, Inc. v. City of

Grand Rapids, 526 F.3d 291, 295 (6th Cir. 2008). A motion to dismiss filed pursuant to Fed. R.

Civ. P. 12(b)(6) operates to test the sufficiency of the complaint and permits dismissal for “failure

to state a claim upon which relief can be granted.”

        To show grounds for relief, Fed. R. Civ. P. 8(a)(2) requires that the complaint contain a

“short and plain statement of the claim showing that the pleader is entitled to relief.” While Fed.



Twombly as being insufficiently pled under Fed. R. Civ. P. 8(a). See infra; see also Easterling v. Rudduck,
No. 1:14-cv-876, 2015 U.S. Dist. LEXIS 44867, at *14-16 (S.D. Ohio 2015).
           3
             Plaintiff’s memorandum in opposition is 31 pages in length. Doc. 48 at PageID 360-90. The
Court’s Local Rules set a 20-page limitation on the length of memoranda in opposition to motions. S.D.
Ohio Civ. R. 7.2(a)(3). The Court’s General Order No. Day 12-01, states specifically that “[m]emoranda
. . . in opposition to any motion shall not exceed twenty pages without first obtaining leave of Court[,]” and
any request for leave in that regard “must include a proposed page length and the reasons for exceeding the
usual page limit.” Here, Plaintiff did not seek leave prior to filing her memorandum in opposition and it is
not clear to the undersigned why an additional 11 pages were required to set forth Plaintiff’s position. In
addition, Plaintiff further violated S.D. Ohio Civ. R. 7.2(a)(3), which requires parties, when filing a
memorandum in excess of 20 pages, to include in their memorandum “a combined table of contents and a
succinct, clear, and accurate summary, not to exceed five pages, indicating the main sections of the
memorandum and the principal arguments and citations to primary authority made in each section, as well
as the pages on which each section and any sub-sections may be found.” Although it is within the
undersigned’s authority to strike Plaintiff’s memorandum in opposition for failing to comply with the Local
Rules and the Court’s General Order, in the interests of justice, the undersigned considers Plaintiff’s
memorandum in its entirety, but admonishes counsel to comply with the Court’s Local Rules and General
Orders going forward.
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R. Civ. P. 8 “does not require ‘detailed factual allegations’ . . . it demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Pleadings offering mere “‘labels

and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’” Id.

(citing Twombly, 550 U.S. at 555). In determining a motion to dismiss, “courts ‘are not bound to

accept as true a legal conclusion couched as a factual allegation.’” Twombly, 550 U.S. at 555

(citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). Further, “[f]actual allegations must be

enough to raise a right to relief above the speculative level.” Id. “[T]he factual allegations must

be specific enough to justify ‘drag[ging] a defendant past the pleading threshold.’” DM Research,

Inc. v. Coll. of Am. Pathologists, 170 F.3d 53, 55 (1st Cir. 1999).

        In order “[t]o survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at

678. In addition to well-pleaded allegations in the complaint, the Court may also consider “matters

of public record, orders, items appearing in the record of the case, and exhibits attached to the

complaint,” as well as documents attached to a defendant’s motion to dismiss that are important

to the plaintiff’s claims or if referred to in the complaint. Amini v. Oberlin College, 259 F.3d 493,

502 (6th Cir. 2001) (citation omitted); Composite Tech., L.L.C. v. Inoplast Composites S.A. de

C.V., 925 F. Supp. 2d 868, 873 (S.D. Ohio 2013).

        A claim is plausible where “plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

at 678. Plausibility “is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Id. “[W]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint has alleged -
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- but it has not ‘show[n]’ -- ‘that the pleader is entitled to relief.’” Id. at 679 (alteration in original)

(citing Fed. R. Civ. P. 8(a)(2)).

                                                    II.

        Plaintiff originally filed her complaint on August 3, 2016. See Doc. 1 at PageID 2-3.

Thereafter, Defendants filed a motion for partial judgment on the pleadings with regard to that

original complaint. See doc. 22. Plaintiff filed a memorandum in opposition (doc. 24) and, in

conjunction therewith -- having identified pleading deficiencies and otherwise being on notice of

other potential pleading deficiencies by virtue of Defendants’ motion – Plaintiff sought leave to

file an amended complaint, which this Court granted. See Docs. 26, 33. On August 11, 2017,

Plaintiff filed an amended complaint (doc. 34) and the Court recommended that Defendant’s

motion for partial judgment on the pleadings be denied as moot. Doc. 33.

        Much like the original complaint, Plaintiff’s amended complaint, filed through counsel,

lacks specificity, is vague, and is conclusory as it relates to claims arising from her arrest and

detention. In this regard, Plaintiff suggests some sort of conspiracy but, significantly, she sets

forth no factual averments beyond veiled innuendo connecting any of the named Defendants to

her arrest and subsequent detention. Doc. 34 at PageID 216-21. In other words, Plaintiff omits

“well-pleaded factual allegations” in her amended complaint connecting any named Defendant to

her arrest and detention. See Han v. Univ. of Dayton, 541 F. App’x 622, 627 (6th Cir. 2013)

(stating that “factual allegations must do more than create speculation or suspicion”). Insofar as

Plaintiff alleges § 1983 claims against Greene County, she fails to identify any official policy or

custom -- adopted or sanctioned by any named state actor defendant -- that caused her alleged

constitutional injuries, and thus the County cannot be held liable under Monell v. Dep’t of Soc.

Servs., 436 U.S. 658 (1978).
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                                                III.

        Accordingly, the undersigned finds that Plaintiff, in her amended complaint, fails to set

forth a “short and plain statement of the claim showing that the pleader is entitled to relief.” As a

result, Plaintiffs’ § 1983 claims arising from her arrest and detention should be dismissed. Thus,

based upon the foregoing, IT IS THEREFORE RECOMMENDED that: (1) Defendants’ partial

motion for judgment on the pleadings (doc. 46) be GRANTED; (2) Plaintiff’s § 1983 claims for

malicious prosecution, false arrest, and false imprisonment all be DISMISSED; and (3) this case

remain pending with regard to Plaintiff’s employment discrimination and retaliation claims.



Date:   July 18, 2018                                  /s Michael J. Newman
                                                       Michael J. Newman
                                                       United States Magistrate Judge
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                           NOTICE REGARDING OBJECTIONS

       Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections

to the proposed findings and recommendations within FOURTEEN days after being served with

this Report and Recommendation. This period is not extended by virtue of Fed. R. Civ. P. 6(d) if

served on you by electronic means, such as via the Court’s CM/ECF filing system. If, however,

this Report and Recommendation was served upon you by mail, this deadline is extended to

SEVENTEEN DAYS by application of Fed. R. Civ. P. 6(d). Parties may seek an extension of the

deadline to file objections by filing a motion for extension, which the Court may grant upon a

showing of good cause.

       Any objections filed shall specify the portions of the Report and Recommendation objected

to, and shall be accompanied by a memorandum of law in support of the objections. If the Report

and Recommendation is based, in whole or in part, upon matters occurring of record at an oral

hearing, the objecting party shall promptly arrange for the transcription of the record, or such

portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the

assigned District Judge otherwise directs.

       A party may respond to another party’s objections within FOURTEEN days after being

served with a copy thereof. As noted above, this period is not extended by virtue of Fed. R. Civ.

P. 6(d) if served on you by electronic means, such as via the Court’s CM/ECF filing system. If,

however, this Report and Recommendation was served upon you by mail, this deadline is extended

to SEVENTEEN DAYS by application of Fed. R. Civ. P. 6(d).

       Failure to make objections in accordance with this procedure may forfeit rights on appeal.

See Thomas v. Arn, 474 U.S. 140, 153-55 (1985); United States v. Walters, 638 F.2d 947, 949-50

(6th Cir. 1981).
